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            EXHIBIT 7
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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

 CONSOLIDATED INDUSTRIES, LLC                       )
 d/b/a WEATHER KING PORTABLE                        )
 BUILDINGS,                                         )
                                                    )
          Plaintiff,                                )
                                                    )   Civil Action No. l:22-cv-01230
 v-                                                 )
                                                    )
 JESSE A. MAUPIN, BARRY D.                          )
 HARRELL, ADRIAN S. HARROD,                         )
 LOGAN C. FEAGIN, STEPHANIE L.                      )
 GILLESPIE, RYAN E. BROWN, DANIEL                   )
 J. HERSHBERGER, BRIAN L. LASSEN,                   )
 ALEYNA LASSEN, and AMERICAN                        )
 BARN CO., LLC,                                     )
                                                    )
          Defendants.                               )



                BRIAN L. LASSEN’S RESPONSES TO PLAINTIFF’S
       FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION OF
                 DOCUMENTS, AND REQUESTS FOR ADMISSION

         Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Brian L. Lassen, by and through his

 attorneys, states the following responses.

                                      INTERROGATORIES

         1.      Identify each business enterprise that has been engaged in the Portable Buildings

 Industry with which you played any role in planning its creation or formation and, with respect to

 each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

 dates in which you were involved in the planning; and (c) all other individuals and entities who

 were involved in planning the creation/formation.

         RESPONSE:



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        RESPONSE:

        None.

        6.       All correspondence and other documents exchanged with any former Weather King

 employees between January 1, 2022, and July 1, 2022.

        RESPONSE:

        None.

         7.      All correspondence and other documents exchanged with any then-current Weather

 King employees after January 1, 2022.

         RESPONSE:

        None.

         8.      All correspondence and other documents exchanged with any then-current Weather

 King dealers (including but not limited to employees and agents of those dealers) between January

 1,2022, and July 1,2022.

         RESPONSE:

         None.

         9.      All correspondence and other documents exchanged with any then-current Weather

 King builders (including but not limited to employees and agents of those builders) between

 January 1,2022, and July 1, 2022.

         RESPONSE:

         None.

         10.     All correspondence and other documents exchanged with any then-current Weather

 King customers (including but not limited to employees and agents of those customers) between

 January 1,2022, and July 1, 2022.

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 68557312;!
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